                                            Appendix 1-01 to LBR 1009.1

                                     UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF KANSAS
In Re:                                            )
                                                  )          Case No. 17-12241
Debtor(s)   MUI V NGUYEN                          )
            KIMDUNG T PHAM

                        NOTICE OF AMENDMENT OF SCHEDULES D, E, F, G OR H
                                   (ADDITION OF CREDITOR(S))

You are hereby notified that the debtor(s) has filed the attached amended schedule(s) of debt to include the creditor
listed below. Debtor’s counsel shall also separately provide you a copy of the debtor(s)’ full Social Security
Number.

1.                                    See a list of creditors' names and addresses attached.
         Creditor (name and address): ______________________________________________________________
2.       Claim (amount owed, nature of claim, date incurred):___________________________________________
                                                              See attached
3.       This claim has been scheduled as (Check one box):
                  [ ] secured; [ ] priority; [ ✔] general unsecured.
4.                                            Linda S. Parks
         Trustee, if one has been appointed: _________________________________________________________
5.                                                      07/23/2018
         Original deadline for filing proofs of claim:___________________________________________________
6.       Deadline for filing complaints objecting to discharge of specific debts or of debtor under 11 U.S.C. § 523,
                       02/12/2018
         727 [Date]: ______________________
         or
            ✔
         _____   This claim was added to the schedules after the deadline for filing complaints stated above.

Check applicable provision(s) below:

  ✔
_____    This is a no-asset case. It is unnecessary to file a claim now. If it is determined there are assets to
         distribute, creditors will receive a notice setting a deadline to file claims.
_____    This claim was added to the schedules after the deadline for filing claims stated above.
_____    This is a Chapter 13 case. You have until the bar date to file your proof of claim.
_____    A plan in this case was confirmed on [Date] __________________.
_____    No plan has been confirmed in this case, but a confirmation hearing is currently set for [Date]
         __________________ at [Location] ____________________. Since the amendment was filed too late to
         give notice, you may file an objection to either confirmation of the plan or the amendment to the schedules
         by [Date] __________________. If an objection is timely filed, a non-evidentiary preliminary hearing will
         be scheduled and notice provided by the Clerk upon expiration of the deadline date.

                                                         Abdul Q. Arif/ 401 East 1st St., Wichita, KS 67202
                                                        ______________________________________________
                                                        Attorney for Debtor(s) (type name and address)

                            Abdul Q. Arif
Certificate of Service: I, _____________________,    certify the above notice and a separate notice of the full Social
Security Number of the debtor(s) was served on the above-named creditor by first class, postage prepaid mail,
     04/17/2018
on___________________.

                                                          /s/ Abdul Q. Arif
                                                         ______________________________________________
                                                        (Signature above)
                                                           ***
As amended 10/17/05.


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                                                                                 Form
LAW OFFICE OF ABDUL Q. ARIF
401 East 1st Street
Wichita, Kansas 67202
Ph.       316-200-1707
Fax.      316-462-5618
Abdul.arif@gmail.com


                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS

In Re:

              MUI V NGUYEN
                                                 Case No. 17-12241
            KIMDUNG THI PHAM
                                                 Chapter 7

                                      Debtors.

         AMENDED SCHEDULE E/F AND CREDITOR MAILING MATRIX

         COME NOW, the Debtors, and add additional creditors on the attached amended

Schedule E/F and Creditor Mailing Matrix.

                                   DECLARATION

         We, Mui V. Nguyen and Kimdung Thi Pham, the Debtors herein, do hereby

swear that the statements herein are true according to the best of our knowledge,

information and belief.


 /s/ Mui V Nguyen
Mui V. Nguyen
Debtor

  /s/ Kimdung Thi Pham
Kimdung Thi Pham
Joint Debtor




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  Fill in this information to identify your case:

      Debtor 1          Mui                     V                       Nguyen
                        __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            Kimdung                          T                   Pham
                          ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name              Last Name


      United States Bankruptcy Court for the: __________    District of __________
                                              District of Kansas

      Case number         17-12241
                          ___________________________________________
                                                                                                                                                       
                                                                                                                                                       ✔ Check if this is an
      (If known)                                                                                                                                           amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         
         ✔ No. Go to Part 2.
          Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim    Priority     Nonpriority
                                                                                                                                                      amount       amount
2.1
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
           Priority Creditor’s Name

           ____________________________________________                When was the debt incurred?          ____________
           Number            Street
           ____________________________________________
                                                                       As of the date you file, the claim is: Check all that apply.
           ____________________________________________
           City                                State    ZIP Code
                                                                          Contingent
                                                                          Unliquidated
           Who incurred the debt? Check one.
                                                                          Disputed
                 Debtor 1 only
                 Debtor 2 only                                        Type of PRIORITY unsecured claim:
                 Debtor 1 and Debtor 2 only
                                                                          Domestic support obligations
                 At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
                 Check if this claim is for a community debt             Claims for death or personal injury while you were
           Is the claim subject to offset?                                 intoxicated
                 No                                                      Other. Specify _________________________________
                 Yes
2.2
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
           Priority Creditor’s Name
                                                                       When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                As of the date you file, the claim is: Check all that apply.

           ____________________________________________
                                                                          Contingent
           City                                State    ZIP Code          Unliquidated
           Who incurred the debt? Check one.                              Disputed
                 Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                          Domestic support obligations
                 Debtor 1 and Debtor 2 only
                 At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
                                                                          Claims for death or personal injury while you were
                 Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                                Other. Specify _________________________________
                 No
                 Yes
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 Debtor 1          Mui                    V                        Nguyen
                    _______________________________________________________                                                       17-12241
                                                                                                           Case number (if known)_____________________________________
                    First Name    Middle Name          Last Name


 Part 1:           Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                           Total claim   Priority     Nonpriority
                                                                                                                                                amount       amount


      ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________                 When was the debt incurred?          ____________
      Number             Street

      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                      Contingent
      City                                State   ZIP Code            Unliquidated
                                                                      Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
            Check if this claim is for a community debt               intoxicated
                                                                      Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes


      ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________                 When was the debt incurred?          ____________
      Number             Street

      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                      Contingent
      City                                State   ZIP Code            Unliquidated
                                                                      Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
            Check if this claim is for a community debt               intoxicated
                                                                      Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes


      ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________                 When was the debt incurred?          ____________
      Number             Street

      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                      Contingent
      City                                State   ZIP Code            Unliquidated
                                                                      Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
            Check if this claim is for a community debt               intoxicated
                                                                      Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes
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 Debtor 1           Mui                    V                       Nguyen
                    _______________________________________________________                                                     17-12241
                                                                                                         Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.1
       M.D.C. Recovery Services, Inc.
       _____________________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name
                                                                                                                                                                     1,230.00
                                                                                                                                                             $__________________
                                                                                     When was the debt incurred?           ____________
       14 Depot Street
       _____________________________________________________________
       Number            Street
       Merrimack                           NH         03054
       _____________________________________________________________
       City                                             State          ZIP Code      As of the date you file, the claim is: Check all that apply.

                                                                                        Contingent
       Who incurred the debt? Check one.                                                Unliquidated
             Debtor 1 only                                                             Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                                   Student loans

             Check if this claim is for a community debt                               Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
       Is the claim subject to offset?                                                  Debts to pension or profit-sharing plans, and other similar debts
             No                                                                        Other. Specify ______________________________________
             Yes

4.2    Nationstar Mortage LLC d/b/a Mr. Cooper                                                                         3 ___
                                                                                     Last 4 digits of account number ___  0 ___
                                                                                                                             8 ___
                                                                                                                                6                                   19,819.00
                                                                                                                                                             $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                   When was the debt incurred?           ____________
       8950 Cypress Waters Blvd
       _____________________________________________________________
       Number            Street
       Dallas                              TX         75019                          As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code
                                                                                        Contingent
       Who incurred the debt? Check one.                                                Unliquidated

       
       ✔      Debtor 1 only
                                                                                        Disputed

             Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                                   Student loans
                                                                                        Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                                that you did not report as priority claims
       Is the claim subject to offset?                                                  Debts to pension or profit-sharing plans, and other similar debts

             No                                                                        Other. Specify ______________________________________

             Yes

4.3
       Sprint
       _____________________________________________________________                                                   8 ___
                                                                                     Last 4 digits of account number ___   3 ___
                                                                                                                              5 ___
                                                                                                                                 2                                     889.65
       Nonpriority Creditor’s Name                                                                                                                           $_________________
                                                                                     When was the debt incurred?           ____________
       P.O. Box 629023
       _____________________________________________________________
       Number            Street
       El Dorado Hills                     CA         95762
       _____________________________________________________________                 As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code

                                                                                        Contingent
       Who incurred the debt? Check one.
                                                                                        Unliquidated
       
       ✔ Debtor 1 only                                                                  Disputed
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                                  Type of NONPRIORITY unsecured claim:
        At least one of the debtors and another
                                                                                        Student loans
             Check if this claim is for a community debt                               Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
       Is the claim subject to offset?
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
             No
                                                                                        Other. Specify ______________________________________
             Yes


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 Debtor 1          Mui                    V                       Nguyen
                   _______________________________________________________                                                    17-12241
                                                                                                       Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                     Total claim


4.4
      Star Lumber & Supply Co, Inc.                                                 Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________                                                                                         $____________
      Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
      P.O. Box 7712
      _____________________________________________________________
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Wichita                             KS         67277
      _____________________________________________________________
      City                                             State          ZIP Code         Contingent
                                                                                       Unliquidated
      Who incurred the debt? Check one.                                                Disputed
      
      ✔ Debtor 1 only
       Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                                     Student loans
       At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
            Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  Other. Specify________________________________
            No
            Yes




                                                                                    Last 4 digits of account number ___ ___ ___ ___                         $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code         Contingent
                                                                                       Unliquidated
      Who incurred the debt? Check one.                                                Disputed
            Debtor 1 only
            Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                       Student loans
            At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
            Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  Other. Specify________________________________
            No
            Yes


                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code         Contingent
                                                                                       Unliquidated
      Who incurred the debt? Check one.                                                Disputed
            Debtor 1 only
            Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                       Student loans
            At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
            Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  Other. Specify________________________________
            No
            Yes




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 Debtor 1      Mui                   V                        Nguyen
               _______________________________________________________                                                  17-12241
                                                                                                 Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



 Part 3:       List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Dana Manweiler Milby
      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      Milby Law Offices PA
      _____________________________________________________
                                                                                4.4 of (Check one):
                                                                           Line _____                      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                             ✔
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
      P.O. Box 1030
      _____________________________________________________
                                                                           Last 4 digits of account number ___ ___ ___ ___
      Wichita                          KS       67201
      _____________________________________________________
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________                Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      _____________________________________________________
      City                                  State               ZIP Code
                                                                           Last 4 digits of account number ___ ___ ___ ___

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Debtor 1     Mui                    V                       Nguyen
             _______________________________________________________                                                17-12241
                                                                                             Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                        Total claim


                6a. Domestic support obligations                                6a.
Total claims                                                                            $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                  6b.     $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                 6c.
                                                                                        $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                     6d.
                                                                                      + $_________________________

                6e. Total. Add lines 6a through 6d.                             6e.
                                                                                        $_________________________



                                                                                        Total claim

                6f. Student loans                                               6f.
Total claims                                                                             $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                      6g.      $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                               6h.     $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                     6i.                   21,938.65
                                                                                      + $_________________________

                6j. Total. Add lines 6f through 6i.                             6j.
                                                                                                       21,938.65
                                                                                         $_________________________




           Print                           Save As...              Add Attachment                                                      Reset
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DANA MANWEILER MILBY
MILBY LAW OFFICES PA
P.O. BOX 1030
WICHITA, KS 67201

M.D.C. RECOVERY SERVICES, INC.
14 DEPOT STREET
MERRIMACK, NH 03054

NATIONSTAR MORTAGE LLC D/B/A MR. COOPER
8950 CYPRESS WATERS BLVD
DALLAS, TX 75019

SPRINT
P.O. BOX 629023
EL DORADO HILLS, CA 95762

STAR LUMBER & SUPPLY CO, INC.
P.O. BOX 7712
WICHITA, KS 67277




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